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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   WARNER RECORDS INC. (f/k/a/
   Warner Bros. Records, Inc.), et al.,

                         Plaintiffs,
                                          Case No. 19-cv-00874-RBJ-MEH
                  v.

   CHARTER COMMUNICATIONS,
   INC.,

                         Defendant.

             CHARTER COMMUNICATIONS, INC.’S MOTION TO COMPEL
                       PRODUCTION OF DOCUMENTS
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         Charter Communications, Inc. (“Charter”) respectfully seeks an order from the Court

  compelling Plaintiffs to produce: (1) a “Hash Report” that Plaintiffs claim to be protected attorney

  work product; and (2) any documents and underlying data related to this Hash Report.

                CERTIFICATION PURSUANT TO D. COLO. L. CIV. R. 7.1(a)

         Counsel for Charter certifies that, pursuant to D. Colo. L. Civ. R. 7.1, they have conferred

  with counsel for Plaintiffs by telephone as described more fully in the text below, and Plaintiffs

  declined to consent to the requested relief.

                                          INTRODUCTION

         For more than five years, Plaintiffs and their affiliates have brought multiple lawsuits

  around the country against internet service providers (”ISPs”) such as Charter for alleged copyright

  infringement of musical various musical works. These suits are similar: Plaintiffs seek awards of

  billions of dollars in damages premised on the ISP’s subscribers’ supposed online sharing of files

  containing digital versions of Plaintiffs’ works. Because a claim of secondary infringement against

  an ISP requires that Plaintiffs first prove the direct infringement by each subscriber for which the

  ISP is to be held liable, Plaintiffs must produce evidence of what each subscriber actually shared,

  giving rise to the secondary liability claim.

         The Hash Report is an excel database documenting Plaintiffs’ 2016 efforts to recreate

  evidence fundamental to Plaintiffs’ claims of infringement by Charter subscribers from 2012

  through 2015—it is Plaintiffs’ internal record of evidence they claim shows that Charter

  subscribers directly infringed their works. Moreover, Plaintiffs have represented that the Hash

  Report is the only source of this key information. Charter now seeks production of the Hash Report




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  and associated documents to support its challenges to the reliability of Plaintiffs’ evidence of direct

  copyright infringement by Charter subscribers.

                                           BACKGROUND

         Almost a decade ago, Plaintiffs retained MarkMonitor, LLC (“MarkMonitor”)—an

  “antipiracy vendor”—to detect when subscribers of ISPs (such as Charter) downloaded or

  distributed music that Plaintiffs claimed to own or control.            From 2012 through 2015,

  MarkMonitor generated and sent hundreds of thousands of infringement notices to Charter on

  behalf of Plaintiffs, alleging that Charter subscribers had infringed Plaintiffs’ copyrights by

  unlawfully sharing music on the internet. Ex. 1 (Plfs’ Jul. 15 Ltr.) at 1. Plaintiffs now claim that

  Charter should be secondarily liable for its subscribers’ alleged direct copyright infringement, and

  seek over a billion dollars in damages on that basis.

         To detect potential infringement during this time period, MarkMonitor used “keyword”

  searches to identify “torrents”—that is, collections of files shared on peer-to-peer networks on the

  internet. MarkMonitor would search for torrents that, based on their title, appeared to include

  songs owned by Plaintiffs. When a potentially infringing torrent was identified, MarkMonitor

  would take a snapshot, or “fingerprint,” of the songs comprising it.

         MarkMonitor relied on another company, Audible Magic Corporation (“Audible Magic”),

  to analyze and compare MarkMonitor’s “fingerprints” of files within a torrent to a separate

  database of “fingerprints” supposedly created from authentic copies of works owned by Plaintiffs.

  If Audible Magic determined that a torrent contained any files that matched “authentic” copies of

  works owned by the Plaintiffs (that is, if the two sets of “fingerprints” matched), MarkMonitor




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  would record the torrent’s “hash value,” which is a string of 40 alphanumeric characters appearing

  in the torrent’s metadata that could theoretically act as an identifier for the downloaded torrent.

          Once the torrent’s constituent files were fingerprinted and its hash recorded, MarkMonitor

  discarded the content of the torrent and its constituent files. As a consequence, none of the

  recordings downloaded by MarkMonitor for fingerprinting during the period in question currently

  exist. When MarkMonitor subsequently encountered a torrent on the internet or on a Charter

  subscriber’s computer with the same hash as one that MarkMonitor had downloaded,

  fingerprinted, and discarded, MarkMonitor did not download or analyze that file, but simply

  assumed that, because it had the same hash, the newly encountered torrent was the same as the

  previously encountered one.1

          From this process, MarkMonitor retained only its record of: (1) the hash value for each

  torrent it identified as containing potentially infringing content; (2) some (but not all) of the

  information sent back by Audible Magic after the matching process; and (3) the notices sent to

  Charter. See Ex. 2 (Sept. 9, 2020 Hr’g. Tr.) at 71:20-72:3, 73:8-12; see also Ex. 3 (Sony v. Cox




  1
     The “hash value,” title, or index of a torrent is not sufficient to identify its actual content. These
  are fields that can be manipulated by the file’s creator. It is common for torrents to have title
  names or “hash values” indicating that they contain a certain album or copyrighted work, even if
  they do not. There are many reasons these “fake” torrents exist—for example, if an individual was
  successful in getting others to download the files they were sharing (due to those files “pretending”
  to be in-demand music) they received extra downloading privileges through torrent sites, and the
  music industry itself spread “fake” torrents containing corrupt files and viruses to discourage
  people from sharing music. Studies have found that over two-thirds of the files “shared” on peer-
  to-peer networks that were able to be classified had false labels of this nature. See Ex. 13, Flávio
  Roberto Santos, et al., Choking Polluters in BitTorrent File Sharing Communities, 8 IEEE
  Transactions on Network Service Management 310 (Dec. 2011).

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  Trial. Tr.) at 580:9-581:9. Consequently, it is impossible to determine today what a Charter

  subscriber was allegedly actually sharing in 2012-2015, the claim period at issue in this case.

         In or around 2016, Plaintiffs apparently realized that MarkMonitor had not actually

  downloaded or saved the files that Plaintiffs needed to prove that a Charter subscriber was

  unlawfully sharing music during the relevant time period. Plaintiffs (via their agent the Recording

  Industry Association of America (“RIAA”)), rehired MarkMonitor to try and find files on the

  internet (shared by other people, years later) that appeared to match the files that MarkMonitor

  initially detected and sent notices regarding.




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            Indeed, as a result of this effort, Plaintiffs have now produced a hard drive (the

  “MarkMonitor Hard Drive”) that they created in 2016 and that they claim includes copies of the

  same files that were shared by Charter subscribers years prior and intend to rely on these files.

         Despite Plaintiffs’ affirmative reliance on the supposed outcome of MarkMonitor’s 2016

  activities, Plaintiffs have withheld and logged as attorney work product the aforementioned “Hash

  Report.” The Hash Report is the primary source of information concerning the reliability—or

  unreliability—of the evidence on which Plaintiffs are now relying to prove their case. Ex. 5 (Plfs’

  Priv. Log), Item 82. The Hash Report is “a list of all successfully downloaded files associated

  with those hashes with the individual audio tracks extracted to show the full volume of audio

  tracks.” Aug. 12 Order at 27. The Hash Report also contains a list of the 7,200 hashes

  corresponding to the torrents that MarkMonitor was supposed to try to download in order to

  “recreate” what it had allegedly detected Charter’s subscribers sharing years prior. Ex. 6 (Sept. 1

  Certification). It was compiled, at least in part, from the notices of copyright infringement that

  MarkMonitor sent to various ISPs. Id. Plaintiffs have represented that the Hash Report is the only

  source for this information. Ex. 7 (Def’s Sept. 24 Ltr.) at 3. Plaintiffs acknowledge that the Hash

  Report also contains “Audible Magic information,” namely: (1) what files were and were not

  verified by Audible Magic as including Plaintiffs’ alleged copyrighted material; and (2) data about

  which songs were supposedly included in the files that it matched. 2 Id. The Hash Report is


  2
       Charter has tried to obtain relevant information through third parties, including both
  MarkMonitor and Audible Magic, but both entities failed to retain key data from both the 2012-
  2015 notice period, as well as information related to the “reconstruction” work they conducted for
  Plaintiffs from 2016 onward. As noted above, MarkMonitor failed to retain the torrents it


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   critically important to Charter: it is the only source of this data which potentially undermines the

   reliability of the system and the identity of the recordings that Plaintiffs intend to rely on.

          Charter asked the Special Master to compel production of communications related to and

   information generated pursuant to the 2016 SOW, including the Hash Report that Plaintiffs argued

   was protected by the work product doctrine. See Aug. 12 Order at 26-28, 34-36. After ordering

   the production of some of the documents related to the 2016 SOW (id. at 28), the Special Master

   declined to order production of the Hash Report “at [that] time” on the ground that the other

   “documents may provide Charter with the data that it seeks” (id. at 36). That is, the Special Master

   reasoned that this other discovery might moot Charter’s need for the Hash Report, because it would

   allow “Charter to determine ‘the extent to which MarkMonitor was unable in 2016 to locate and

   authenticate’” the files it alleged Charter’s subscribers were sharing years earlier. Consistent with

   this rationale, she left open the possibility of obtaining the Hash Report if this exercise failed. Id.;

   see also Ex. 11 (Sept. 28 Ltr. from Special Master) at 3.

          On September 1, 2020 Plaintiffs attested that “the documents referenced in the 2016

   RIAA/Mark Monitor Agreement have all been produced or logged” and therefore they had nothing




   downloaded and the fingerprints it created from those files, and it failed to retain most of the data
   it received back from Audible Magic allegedly confirming whether a MarkMonitor fingerprint
   matched with a copyrighted work and, if so, what work it matched. See Ex. 8 at 16-17
   (MarkMonitor’s Amended Objections and Responses to Charter’s Document Subpoena, Response
   to RFP 12). Audible Magic failed to retain the database of fingerprints created from Plaintiffs’
   master song files which were used to match the fingerprints received from MarkMonitor. See Ex.
   9 (May 20, 2020 Email from Audible Magic to Charter); Ex. 10 (Aug. 8, 2020 Email from Charter
   to Audible Magic). Audible Magic retained no data whatsoever regarding any verification
   inquiries taking place after MarkMonitor was rehired in 2016. Id. Plaintiffs themselves have
   produced post-2016 Audible Magic data for only 171 songs out of the over 40,000 recordings on
   the MarkMonitor Hard Drive. Id.

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   more to produce in response to the August 12 Order. Ex. 6 (Sept. 1 Certification). After raising

   concerns with Plaintiffs’ Certification in an email to the Special Master, the parties met-and-

   conferred by telephone on September 15. Ex. 7 (Def’s Sept. 24 Ltr.) at 3. During that meet and

   confer, Plaintiffs’ counsel confirmed that the list of 7,200 hashes exists only in the Hash Report,

   and possibly in earlier drafts or “iterations” of that spreadsheet, but again refused to produce it.

   Id. Plaintiffs also represented, incorrectly, that the Audible Magic data had been produced.

          When Charter raised these issues again to the Special Master after discovery and asked her

   to order Plaintiffs to produce the Hash Report, she instructed Charter to raise its concerns directly

   to this Court, due to the Court’s recent order that it would consider directly any disputes related to

   potentially-privileged material. Ex. 11 (Sept. 28 Ltr. from Special Master) at 3.

                                         LEGAL STANDARD

           A “litigant cannot use the work product doctrine as both a sword and a shield by selectively

   using the privileged documents to prove a point but then invoking the privilege to prevent an

   opponent from challenging the assertion.” Chevron Corp. v. Stratus Consulting, Inc., 2010 WL

   3923092, at *10 (D. Colo. Oct. 1, 2010) (Hegarty, M.J.) (quoting Frontier Refining, Inc. v.

   Gorman-Rupp Co., Inc., 136 F.3d 695, 704 (10th Cir. 1998)). “[I]n the same vein of thought,

   waiver of the attorney client or work product privileges can occur when the privilege holder asserts

   a claim or affirmative defense which puts the privileged matter directly at issue.” Id. (quotations

   omitted). “The primary inquiry is whether the party claiming privilege will assert the allegedly

   protected material in aid or in furtherance of its claims or defenses.” Id.

          If waiver is not found, the privilege nonetheless is not absolute:

          Rule 26(b)(3) … contemplates a sequential step approach to resolving work product
          issues. First, the party seeking discovery must show that the subject documents or

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          tangible things are relevant to the subject matter involved in the pending litigation
          and are not privileged. Once such a showing has been made, the burden shifts to
          the party seeking protection to show that the requested materials were prepared in
          anticipation of litigation or for trial by or for the party or the party’s attorney,
          consultant, surety, indemnitor, insurer or agent …. If the Court concludes that the
          items were prepared in anticipation of litigation, the burden shifts back to the
          requesting party to show: (a) a substantial need for the materials in the preparation
          of the party’s case; and (b) the inability without undue hardship of obtaining the
          substantial equivalent of the materials by other means. Finally, even if substantial
          need and unavailability are demonstrated, the Court must distinguish between
          factual work product, and mental impressions, opinions, and conclusions, for the
          latter are rarely, if ever, subject to discovery.

   Thane v. GEICO Cas. Co., 2017 WL 3157966, at *3 (D. Colo. July 25, 2017) (Hegarty, M.J.)

   (quoting Martin v. Monfort, Inc., 150 F.R.D. 172, 172-73 (D. Colo. 1993)). “The more crucial the

   information is to the requesting party, the more likely the documents will not be subject to the

   privilege.” Nat’l Union Fire Ins. Co. of Pittsburgh, PA v. Intrawest ULC, 2015 WL 5047635, at

   *3 (D. Colo. Aug. 27, 2015). “‘Because the work product doctrine is intended only to guard against

   divulging the attorney’s strategies and legal impressions, it does not protect facts concerning the

   creation of work product or facts contained within work product.’” Hansen Constr., Inc. v. Everest

   Nat’l Ins. Co., 2017 WL 7726711, at *1 (D. Colo. July 28, 2017) (citation omitted).

                                              ARGUMENT

          Charter seeks to compel production of the Hash Report3 because, as Plaintiffs’ counsel has

   admitted, it is the only source of the list of 7,200 hashes corresponding to the torrents that

   MarkMonitor was asked to attempt to download from the Internet in 2016, and because the 2016

   Audible Magic evaluation of the files downloaded from those hashes also exists nowhere else. By



   3
      Throughout this Motion, Charter’s request for production of the “Hash Report” also includes its
   request for documents and information underlying the Hash Report, including the Audible Magic
   fingerprints. For this reason, Charter uses the term “Hash Report” to refer to all of these materials.

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   extension, the Hash Report is the only evidence of: (1) the identities of the files associated with

   hashes that MarkMonitor could not find; and (2) the identities of the files that MarkMonitor found

   but which Audible Magic could not verify or which otherwise turned out not to be the recordings

   being sought. This data showing both what went right and what went wrong in the 2016 recreation

   of the 2012-2015 downloads is purely factual work product, and Plaintiffs have already waived

   privilege over it by producing the part of the results of MarkMonitor’s 2016 work that helps

   them—that is, the MarkMonitor Hard Drive containing torrent files containing slightly over 3,700

   recordings that Plaintiffs contend are identical to the ones allegedly shared by Charter subscribers

   in 2012-2015 and were the subject of Plaintiffs’ original notices, and the associated hash values

   for those files. The significance of this evidence to the litigation is plain: it would enable Charter

   to show that the process by which Plaintiffs initially identified alleged infringement on the internet

   by Charter subscribers, and subsequently accused those subscribers of copyright infringement via

   notices, was unreliable. This in turn is critical to Charter’s defense, because all of Plaintiffs’

   secondary infringement claims against Charter first require proof that Charter’s subscribers

   directly infringed Plaintiffs’ works. Plaintiffs’ primary evidence of that direct infringement is the

   notices they sent to Charter in 2012-2015. Plaintiffs intend to prove their case by comparing the

   music found on the torrent files they purport to be the files referenced in the notices—downloaded

   by MarkMonitor years later from different people—to recordings of Plaintiffs’ songs. Dkt. 233

   (“Plfs’ Partial Objection to Special Master's Aug. 12 Order”) at 15. This evidence will help Charter

   show that those infringement notices were wrong and that this process is fatally flawed.




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   I.     PLAINTIFFS HAVE WAIVED ANY WORK-PRODUCT PROTECTION
          REGARDING THE HASH REPORT

          This Court should order that the Hash Report and related documents and data be produced

   because Plaintiffs have waived any possible privilege over it by producing the favorable results of

   MarkMonitor’s 2016 work, while withholding the unfavorable ones. Courts routinely order the

   production of work product evidence where parties selectively use privileged documents to further

   their arguments. See, e.g., Chevron Corp., 2010 WL 3923092, at *10 (“fundamental fairness

   precludes Plaintiffs from using communications concerning Stratus and Mr. Cabrera as a shield

   from production after wielding the conclusions from disclosure of these communications as a

   multi-billion dollar damages sword”); Austin v. City & Cty. of Denver ex rel. Bd. of Water

   Comm’rs, 2006 WL 1409543, at *8 (D. Colo. May 19, 2006) (“As long as Defendants persist in

   asserting a Faragher/Ellerth defense, Plaintiff should be permitted to explore the bona fides of

   that affirmative defense. Any other result would permit Defendants to use the attorney-client

   privilege as both a sword and a shield.”). In particular, courts do not allow parties to conduct

   factual investigations to further their legal positions but produce only the helpful subsets of that

   investigation while withholding the remainder. See Martensen v. Koch, 301 F.R.D. 562, 581 (D.

   Colo. 2014) (“To allow Mr. Koch to rely upon the Grant Thornton reports to plan for and justify

   the Bear Ranch confrontation and then withhold those same materials from Plaintiff would, in my

   opinion, effectively subvert the fact-finding process.”); Walker v. Cty. of Contra Costa, 227 F.R.D.

   529, 533 (N.D. Cal. 2005) (party loses work product and attorney-client privileges when relying

   on an investigation to prove a claim or defense) (collecting cases).

          Here, Plaintiffs attempt to use the facts generated by MarkMonitor in 2016 that help them,

   while concealing the facts that hurt them. Part of the results of MarkMonitor’s 2016 work has

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   already been produced in the form of the collection of the recordings on the MarkMonitor Hard

   Drive (Ex. 1 (Plfs’ Jul. 15, 2020 Ltr.) at 2), and these files are going to be central to Plaintiffs’

   direct infringement case. Plaintiffs have put MarkMonitor’s work at issue by relying on it to prove

   their secondary liability claims. See Dkt. 233 (“Plfs’ Partial Objection to Special Master’s Aug.

   12 Order”) at 15 (“Plaintiffs intend to meet this burden by showing that every ‘infringing file’ that

   Plaintiffs’ antipiracy vendor, MarkMonitor, detected Charter’s subscribers downloading or

   distributing is unmistakably a work that Plaintiffs own or control.”). However, Plaintiffs refuse to

   provide the entirety of the factual material underlying this claim, shielding the information that

   would show the extent to which Plaintiffs’ notices purported to identify files that Plaintiff cannot

   prove to have existed or to match any of Plaintiffs’ works-in-suit. Plaintiffs cannot rely on the

   results of their investigation that support Plaintiffs’ case, while simultaneously preventing

   discovery into the reliability of those findings. The law does not allow such a result.

   II.    THE HASH REPORT IS SUBJECT TO PRODUCTION EVEN IF THERE WERE
          NO WAIVER

          A.      Charter Has A Substantial Need For The Hash Report

          Charter has a substantial need for the Hash Report because it is the only source of the list

   of 7,200 hashes and the related Audible Magic data pertaining to the torrents that were the subject

   of notices to Charter, and which MarkMonitor was tasked to download from the internet in 2016

   when Plaintiffs realized that they did not have the underlying files associated with their notices.

   This material represents the unproduced portion of the scope of the work Plaintiffs requested from

   MarkMonitor in association with the 2016 SOW. Additionally, the Hash Report is the only source

   of information that would allow Charter to determine the files that MarkMonitor could not find,

   the files that Audible Magic could not verify, and the files that turned out not to contain Plaintiffs’

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   works in suit. Plaintiffs have confirmed the connection between this data and the notices sent to

   Charter, admitting that the Hash Report was compiled exclusively from the data Plaintiffs relied

   on when initially sending notices of copyright infringement to ISPs. Ex. 6 (Sept. 1 Certification).

          Plaintiffs represented that they “have produced downloaded files containing hashes for

   every work in suit,” so Charter supposedly “knows which hashes were downloaded in 2016 and

   which were not” because “any files MarkMonitor did not download are not works in suit.” Ex. 1

   (Plfs’ Jul. 15, 2020 Ltr.) at 2. Plaintiffs believe that this selective disclosure of the material most

   helpful to them is all that is needed, but the Hash Report would also show which of the files that

   were the subject of the notices MarkMonitor was not able to find and what files Audible Magic

   could not verify. Further, Charter has no reliable way of determining whether the files downloaded

   in 2016 are the same as the files Plaintiffs contend its subscribers were sharing in 2012-2015, and

   thus needs this underlying data to demonstrate the unreliability of Plaintiffs’ process.

          In other words, the Hash Report is effectively an audit of the reliability of the infringement

   notices that were sent to Charter. Without this information, Charter cannot determine the extent

   to which MarkMonitor could not locate and authenticate (with Audible Magic) the torrents it did

   not retain, but which it alleged (via notices) that Charter’s subscribers were sharing during the

   Claim Period. The reliability of those notices impacts virtually every liability issue in this case,

   including Charter’s ability to challenge the adequacy of the notices and the sufficiency of

   Plaintiffs’ direct infringement evidence.4 The reliability of the notices is also relevant to Charter’s


   4
     The ability to undermine the reliability of these notices is also important because, in Sony v.
   Cox, No. 18-cv-950 (E.D. Va.), Plaintiffs’ counsel made representations to the jury about the
   import of all infringement notices received by the defendant, not just those that related to the
   works-in-suit. Specifically, Plaintiffs relied on the broader set of notices in Cox to argue that


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   counterclaim for violation of 17 U.S.C. § 512(f) for knowingly sending materially inaccurate

   notices of alleged infringement. The Special Master already acknowledged Charter’s significant

   need for this information, stating that Charter must be given documentation that will allow it to

   “determine ‘the extent to which MarkMonitor was unable in 2016 to locate and authenticate’ the

   hashes for which the RIAA sent notices.” Aug. 12 Order at 36; see also Dkt. 261 (“Oct. 8 Order”)

   at 10-11 (“These notices form the basis of Plaintiffs’ infringement claims. The content of these

   notices, including information about how the information therein was gathered and verified, is

   therefore relevant and highly probative.     … Given the importance of the notices and the

   information therein, the probative value of the information sought is high.”).

          Thus, Charter has established a substantial need for the information requested.

          B.      Charter Cannot Obtain The Hash Report Data By Other Means

          The Hash Report is the sole source from which Charter can obtain the list of 7,200 hashes,

   the Audible Magic fingerprinting results, and the associated data. This Court has found the

   element of undue hardship satisfied when information sought is not available elsewhere. See, e.g.,

   Henderlong v. Allstate Ins. Co., 2009 WL 82493, at *2 (D. Colo. Jan. 13, 2009) (“Here, the undue

   hardship element is met, as it is quite apparent that the sought-after information is not available

   elsewhere.”) (Hegarty, M.J.); Bishelli v. State Farm Mut. Auto. Ins. Co., 2008 WL 280850, at *1

   (D. Colo. Jan. 31, 2008) (Hegarty, M.J.) (same).




   infringement of the works-in-suit were just a few examples of the so-called “massive”
   infringement which counsel claimed was devastating the recording industry. Ex. 12 (Sony v. Cox
   Trial. Tr.) at 41:16-43:12. The fact that the process by which MarkMonitor attempted to detect
   infringement was faulty will help Charter demonstrate that Plaintiffs’ claimed level of
   infringement on its networks was vastly overstated.
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          First, the Hash Report is the only way that Charter can get the list of 7,200 hashes that

   MarkMonitor tried to download from the Internet in 2016. Plaintiffs’ counsel recently disclosed

   that the list of 7,200 hashes exists in no format other than the Hash Report, or in earlier drafts or

   “iterations” of that spreadsheet. Ex. 7 (Def’s Sept. 24 Ltr.) at 3. The September 1 Certification

   and the ensuing meet and confer make clear that, contrary to the possibility contemplated by the

   Special Master that that the ordered production “might provide Charter with the raw evidence that

   was used to create the Hash Report,” the underlying information Charter seeks is not being

   produced and, indeed, does not exist outside of the Hash Report.

          Second, the fact that the 7,200 hashes first described in the 2016 SOW exist only in the

   Hash Report means that it is also the only source from which Charter could glean the identities of

   the hashes that MarkMonitor could not find on the Internet.

          Third, the Hash Report is the only way that Charter can get the information about what

   files associated with the 7,200 hashes were not verified by Audible Magic, or what information

   Audible Magic found about the files that were verified and whether that information showed the

   files to be copies of something other than the works at issue. The Hash Report is the only way to

   access this information because Audible Magic had produced no results for any verification

   inquiries after July 2015 and because Plaintiffs have only produced post-2015 results for only 171

   songs. See supra at 5 n.2.

          Because this information is not available elsewhere, Charter has satisfied the hardship

   element such to justify production of this material.




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          C.      The Hash Report Is Factual Work Product

          The data contained in the Hash Report represents “factual work product” that is typically

   discoverable, and not “mental impressions, opinions, and conclusions,” which are not. Thane,

   2017 WL 3157966, at *3.

          First, as the August 12 Order explained, the “factual nature” of this alleged work product

   cannot be disputed. What 7,200 hashes are listed in the report and whether MarkMonitor

   successfully downloaded them are matters of fact. The data generated by Audible Magic is also

   factual. Further, this data—showing what was and was not downloaded, and what was or was not

   verified—was generated in response to the requests submitted by MarkMonitor (to Audible Magic

   and to peer-to-peer networks), not by counsel. Together, these facts constitute “evidence [that]

   might be used by Charter to determine ‘the extent to which MarkMonitor was unable in 2016 to

   locate and authenticate’ the hashes for which the RIAA sent notices.” Aug. 12 Order at 36.

   Documents showing why counsel included or omitted hashes from that list theoretically might

   reflect counsel’s mental impressions, but that is not what is being sought in this motion.

          The sole case Plaintiffs relied upon before the Special Master supports a finding that the

   Hash Report should be produced. In United States v. J-M Manufacturing Co., 2013 WL 424782,

   at *4 (D. Colo. Feb. 4, 2013), the court held that “[t]he selection of a particular test methodology

   or testing sample or set of samples to test could” lead to “inferences” that, “in turn, could reveal

   attorney opinions, theories, or strategies.” But that scenario is not relevant here. The information

   sought does not reveal any significant inferences about counsel’s thought process, in just the same

   way that whether or not MarkMonitor could download or Audible Magic could identify any

   particular file does not give rise to inferences about counsel’s strategy. In J-M Manufacturing,


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   counsel chose among a number of relevant methodologies, and that may have revealed something

   about counsel’s thinking. Here, by contrast, no concerns arise from disclosure of the end result of

   third party work, particularly since Plaintiffs intend to rely these results. See supra § I.

          Second, Plaintiffs have tacitly admitted that a list of hashes is not protectable “work

   product” because they have disclosed a subset of these hashes while withholding the remainder.

   Plaintiffs produced the MarkMonitor Hard Drive containing the later-downloaded files and the

   associated hash values for these files. Ex. 1 (Plfs’ Jul. 15, 2020 Ltr.) at 2. There is no basis for

   Plaintiffs to claim that information about the hashes they have not produced are work product, but

   that the hashes of the files they have chosen to produce are not. See also supra § I.

                                             CONCLUSION

          Based on the foregoing, Charter requests that the Court order Plaintiffs to produce the Hash

   Report and all associated data .




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   Dated: October 17, 2020              Respectfully submitted,
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                                  CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that on October 17, 2020, I caused the foregoing document and all

   supporting materials thereto to be filed electronically with the Clerk of the Court using the

   CM/ECF system, which will send a notice of electronic filing to all counsel of record registered

   with CM/ECF.


                                                           /s/ Andrew Schapiro
                                                              Andrew Schapiro




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